                      Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 1 of 8
            CASREF,CLOSED,JURY,LEAD,MEDIATION,PATENT/TRADEMARK,PROTECTIVE−ORDER,STAYDDLS
                                 U.S. District Court [LIVE]
                            Eastern District of TEXAS (Marshall)
                    CIVIL DOCKET FOR CASE #: 2:17−cv−00070−JRG−RSP

Display Technologies, LLC v. HTC America, Inc.                 Date Filed: 01/23/2017
Assigned to: Judge Rodney Gilstrap                             Date Terminated: 07/10/2017
Referred to: Magistrate Judge Roy S. Payne                     Jury Demand: Defendant
Member cases:                                                  Nature of Suit: 830 Patent
  2:17−cv−00069−JRG−RSP                                        Jurisdiction: Federal Question
  2:17−cv−00067−JRG−RSP
  2:17−cv−00068−JRG−RSP
Cause: 15:1126 Patent Infringement
Mediator
Harlan A Martin
JAMS/Endispute LLC
8401 N Central Expressway
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Dallas, TX 75225−4698
214/744−5267
hmartin@jamsadr.com

Plaintiff
Display Technologies, LLC                        represented by Thomas C Wright
                                                                Cunningham Swaim, LLP
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                                                                Email: twright@cunninghamswaim.com
                                                                ATTORNEY TO BE NOTICED


V.
Defendant
HTC America, Inc.                                represented by Matthew C Bernstein
                                                                Perkins Coie LLP − San Diego
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                                                               Eric Hugh Findlay
                                                               Findlay Craft PC
                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 2 of 8
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                                                           Thomas C Wright
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED


V.
Consol Defendant
Blu Products, Inc.                           represented by Bernard Lewis Egozi
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                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 3 of 8
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                                                           William Ellsworth Davis , III
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                                                           ATTORNEY TO BE NOTICED

Consol Defendant
ZTE (USA) Inc.                               represented by Eric Hugh Findlay
Member case No. 2:17−cv−00068                               (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

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                                                           Roger Brian Craft
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Consol Defendant
LG Electronics U.S.A Inc.                    represented by Harry Lee Gillam , Jr
Member case No. 2:17−cv−00069                               Gillam & Smith, LLP
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                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 4 of 8
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                                                                        Email: wrlamb@gillamsmithlaw.com
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                                                                        ATTORNEY TO BE NOTICED

Consol Counter Claimant
ZTE (USA) Inc.                                          represented by Eric Hugh Findlay
Member case No. 2:17−cv−00068                                          (See above for address)
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

Consol Counter Defendant
Display Technologies, LLC                               represented by Thomas C Wright
Member case No. 2:17−cv−0068                                           (See above for address)
                                                                       ATTORNEY TO BE NOTICED


 Date Filed     #   Docket Text

 01/23/2017    Ï1   COMPLAINT against HTC America, Inc. ( Filing fee $ 400 receipt number 0540−6122751.), filed
                    by Display Technologies, LLC. (Attachments:
                    # 1 Exhibit A,
                    # 2 Exhibit B,
                    # 3 Civil Cover Sheet)(Wright, Thomas) (Entered: 01/23/2017)

 01/23/2017     Ï   Case Assigned to Judge Rodney Gilstrap. (nkl, ) (Entered: 01/23/2017)

 01/23/2017    Ï2   ORDER REFERRING CASE to Magistrate Judge Roy S. Payne. Signed by Judge Rodney Gilstrap
                    on 1/23/2017. (nkl, ) (Entered: 01/23/2017)

 01/23/2017     Ï   In accordance with the provisions of 28 USC Section 636(c), you are hereby notified that a U.S.
                    Magistrate Judge of this district court is available to conduct any or all proceedings in this case
                    including a jury or non−jury trial and to order the entry of a final judgment. The form Consent to
                    Proceed Before Magistrate Judge is available on our website. All signed consent forms, excluding
                    pro se parties, should be filed electronically using the event Notice Regarding Consent to Proceed
                    Before Magistrate Judge. (nkl, ) (Entered: 01/23/2017)

 01/23/2017    Ï3   CORPORATE DISCLOSURE STATEMENT filed by Display Technologies, LLC (Wright,
                    Thomas) (Entered: 01/23/2017)

 01/23/2017    Ï4   Notice of Filing of Patent/Trademark Form (AO 120). AO 120 mailed to the Director of the U.S.
                    Patent and Trademark Office. (Wright, Thomas) (Entered: 01/23/2017)

 01/26/2017    Ï5   SUMMONS Issued as to HTC America, Inc.. (ch, ) (Entered: 01/26/2017)
                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 5 of 8
02/21/2017    Ï6    Defendant's Unopposed First Application for Extension of Time to Answer Complaint re HTC
                    America, Inc.( Wright, Thomas) (Entered: 02/21/2017)

02/21/2017     Ï    Defendant's Unopposed First Application for Extension of Time to Answer Complaint is
                    GRANTED pursuant to Local Rule CV−12 for HTC America, Inc. to 3/24/2017. 30 Days Granted
                    for Deadline Extension.( slo, ) (Entered: 02/21/2017)

02/22/2017    Ï7    SUMMONS Returned Executed by Display Technologies, LLC. HTC America, Inc. served on
                    2/1/2017, answer due 2/22/2017. (slo, ) (Entered: 02/22/2017)

02/22/2017     Ï    Answer Due Deadline Updated for HTC America, Inc. to 3/24/2017 re the granting of Defendant's
                    Unopposed First Application for Extension of Time to Answer Complaint. (slo, ) (Entered:
                    02/22/2017)

03/22/2017    Ï8    Defendant's Unopposed Second Application for Extension of Time to Answer Complaint re HTC
                    America, Inc.( Wright, Thomas) (Entered: 03/22/2017)

03/22/2017     Ï    Defendant's Unopposed Second Application for Extension of Time to Answer Complaint is
                    GRANTED pursuant to Local Rule CV−12 for HTC America, Inc. to 4/10/2017. 15 Days Granted
                    for Deadline Extension.( slo, ) (Entered: 03/22/2017)

04/10/2017    Ï9    MOTION to Dismiss HTC America, Inc.'s Motion to Dismiss Plaintiff Display Technologies, LLC's
                    Complaint for Improper Venue Pursuant to Fed. R. Civ. P. 12(B)(3) by HTC America, Inc..
                    (Attachments:
                    # 1 Text of Proposed Order)(Bernstein, Matthew) (Entered: 04/10/2017)

04/10/2017   Ï 10   ANSWER to 1 Complaint by HTC America, Inc..(Bernstein, Matthew) (Entered: 04/10/2017)

04/10/2017   Ï 11   CORPORATE DISCLOSURE STATEMENT filed by HTC America, Inc. (Bernstein, Matthew)
                    (Entered: 04/10/2017)

04/20/2017   Ï 12   NOTICE of Attorney Appearance by Eric Hugh Findlay on behalf of HTC America, Inc. (Findlay,
                    Eric) (Entered: 04/20/2017)

04/21/2017   Ï 13   Unopposed MOTION for Extension of Time to File Response/Reply as to 9 MOTION to Dismiss
                    HTC America, Inc.'s Motion to Dismiss Plaintiff Display Technologies, LLC's Complaint for
                    Improper Venue Pursuant to Fed. R. Civ. P. 12(B)(3) by Display Technologies, LLC. (Attachments:
                    # 1 Text of Proposed Order)(Wright, Thomas) (Entered: 04/21/2017)

04/24/2017   Ï 14   RESPONSE to Motion re 9 MOTION to Dismiss HTC America, Inc.'s Motion to Dismiss Plaintiff
                    Display Technologies, LLC's Complaint for Improper Venue Pursuant to Fed. R. Civ. P. 12(B)(3)
                    filed by Display Technologies, LLC. (Wright, Thomas) (Entered: 04/24/2017)

04/25/2017   Ï 15   ORDER granting 13 Unopposed MOTION for Extension of Time to File Response/Reply as to 9
                    MOTION to Dismiss HTC America, Inc.'s Motion to Dismiss Plaintiff Display Technologies, LLC's
                    Complaint for Improper Venue Pursuant to Fed. R. Civ. P. 12(B)(3) filed by Display Technologies,
                    LLC.The Court extends Plaintiffs deadline to respond to Defendants motion to dismiss to May 8,
                    2017. Signed by Magistrate Judge Roy S. Payne on 4/25/2017. (slo, ) (Entered: 04/26/2017)

04/28/2017   Ï 16   CONSOLIDATION ORDER: The above−captioned cases are hereby ORDERED to be
                    CONSOLIDATED for all pretrial issues (except venue) with the LEAD CASE as Cause No.
                    2:17−cv−00070. ALL FUTURE DOCKET ENTRIES SHOULD BE MADE IN THE LEAD CASE
                    NUMBER (EXCEPT VENUE). Signed by Judge Rodney Gilstrap on 4/28/2017. (slo, ) (Entered:
                    05/01/2017)

05/01/2017   Ï 17   ANSWER to Complaint by Display Technologies, LLC.(Wright, Thomas) (Entered: 05/01/2017)

05/01/2017   Ï 18
                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 6 of 8
                    ORDER (Scheduling Conference set for 5/31/2017 01:30 PM in Ctrm 106 (Marshall) before Judge
                    Rodney Gilstrap.) Signed by Magistrate Judge Roy S. Payne on 5/1/2017. (slo, ) (Entered:
                    05/02/2017)

05/02/2017   Ï 19   NOTICE of Attorney Appearance by Lai Lam Yip on behalf of ZTE (USA) Inc. (Yip, Lai)
                    (Entered: 05/02/2017)

05/02/2017   Ï 20   NOTICE of Attorney Appearance by Patrick John McKeever on behalf of HTC America, Inc.
                    (McKeever, Patrick) (Entered: 05/02/2017)

05/17/2017   Ï 21   Joint MOTION to Stay all Deadlines and Notice of Settlement by Display Technologies, LLC.
                    (Attachments:
                    # 1 Text of Proposed Order)(Wright, Thomas) (Entered: 05/17/2017)

05/18/2017   Ï 22   **FILED IN ERROR, PLEASE IGNORE. ** NOTICE by Display Technologies, LLC OF
                    Waiver (Wright, Thomas) Modified on 5/19/2017 (slo, ). (Entered: 05/18/2017)

05/18/2017   Ï 23   ORDER granting 21 Joint MOTION to Stay all Deadlines and Notice of Settlement filed by Display
                    Technologies, LLC. Case is stayed for 30 days from the date of this order. (Show Cause Hearing set
                    for 6/28/2017 09:00 AM in Mag Ctrm (Marshall) before Magistrate Judge Roy S. Payne.) Signed by
                    Magistrate Judge Roy S. Payne on 5/18/2017. (slo, ) (Entered: 05/18/2017)

05/19/2017     Ï    ***FILED IN ERROR. FILED IN WRONG CASE. Document # 22, Notice. PLEASE
                    IGNORE.***

                    (slo, ) (Entered: 05/19/2017)

05/30/2017   Ï 24   NOTICE of Attorney Appearance by William Ellsworth Davis, III on behalf of Blu Products, Inc.
                    (Davis, William) (Entered: 05/30/2017)

05/30/2017   Ï 25   NOTICE of Attorney Appearance by Roger Brian Craft on behalf of HTC America, Inc., ZTE
                    (USA) Inc. (Craft, Roger) (Entered: 05/30/2017)

05/31/2017     Ï    Minute Entry for proceedings held before Judge Rodney Gilstrap: Scheduling Conference held on
                    5/31/17. Counsel for the parties appeared and were asked if they consented to a trial before the
                    United States Magistrate Judge. The Court then gave Markman and Jury Selection dates; deadlines
                    for submitting Mediator names (3 days); and deadlines for submitting Agreed Scheduling and
                    Discovery Orders (14 days). (Court Reporter Shelly Holmes, CSR−TCRR.)(jml) (Entered:
                    06/01/2017)

06/05/2017   Ï 26   NOTICE of Designation of Mediator, Harlan Martin, filed by Display Technologies, LLC. (Wright,
                    Thomas) (Entered: 06/05/2017)

06/06/2017   Ï 27   ORDER APPOINTING MEDIATOR. Harlan A. Martin is appointed as mediator in the above
                    referenced case. Signed by Magistrate Judge Roy S. Payne on 6/6/2017. (slo, ) (Entered:
                    06/06/2017)

06/09/2017   Ï 28   Unopposed MOTION to Change Venue TO THE WESTERN DISTRICT OF WASHINGTON IN
                    SEATTLE by HTC America, Inc.. (Attachments:
                    # 1 Text of Proposed Order)(Craft, Roger) (Entered: 06/09/2017)

06/14/2017   Ï 29   * FILED IN ERROR. PLEASE IGNORE. * Submission of Proposed Agreed Docket
                    Control/Scheduling order by Display Technologies, LLC . (Attachments:
                    # 1 Exhibit Proposed Docket Control Order)(Wright, Thomas) Modified on 6/14/2017 (slo, ).
                    (Entered: 06/14/2017)

06/14/2017   Ï 30   * FILED IN ERROR. PLEASE IGNORE. * Submission of Proposed Agreed Discovery order by
                    Display Technologies, LLC . (Attachments:
                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 7 of 8
                    # 1 Exhibit Proposed Agreed Discovery Order)(Wright, Thomas) Modified on 6/14/2017 (slo, ).
                    (Entered: 06/14/2017)

06/14/2017     Ï    ***FILED IN ERROR. Document # 29, WRONG EVENT USED. ATTORNEY TO REFILE.
                    PLEASE IGNORE.***

                    (slo, ) (Entered: 06/14/2017)

06/14/2017     Ï    ***FILED IN ERROR. Document # 30, WRONG EVENT USED. ATTORNEY TO REFILE.
                    PLEASE IGNORE.***

                    (slo, ) (Entered: 06/14/2017)

06/14/2017   Ï 31   MOTION Entry of Docket Control Order by Display Technologies, LLC. (Attachments:
                    # 1 Exhibit Proposed Docket Control Order)(Wright, Thomas) (Entered: 06/14/2017)

06/14/2017   Ï 32   MOTION Entry of Discovery Order by Display Technologies, LLC. (Attachments:
                    # 1 Exhibit Proposed Agreed Discovery Order)(Wright, Thomas) (Entered: 06/14/2017)

06/14/2017   Ï 33   Unopposed MOTION TO CANCEL DEADLINES by HTC America, Inc.. (Attachments:
                    # 1 Text of Proposed Order)(Findlay, Eric) (Entered: 06/14/2017)

06/15/2017   Ï 34   DOCKET CONTROL ORDER re 31 MOTION Entry of Docket Control Order filed by Display
                    Technologies, LLC. (Pretrial Conference set for 8/13/2018 09:00 AM in Mag Ctrm (Marshall)
                    before Magistrate Judge Roy S. Payne., Amended Pleadings due by 11/8/2017, Jury Selection set
                    for 9/10/2018 09:00 AM in Ctrm 106 (Marshall) before Judge Rodney Gilstrap, Markman Hearing
                    set for 1/24/2018 09:00 AM in Mag Ctrm (Marshall) before Magistrate Judge Roy S. Payne,
                    Motions in Limine due by 7/23/2018, Joint Pretrial Order due by 8/6/2018.) Signed by Magistrate
                    Judge Roy S. Payne on 6/15/2017. (slo, ) (Entered: 06/16/2017)

06/15/2017   Ï 35   DISCOVERY ORDER re 32 MOTION Entry of Discovery Order filed by Display Technologies,
                    LLC. Signed by Magistrate Judge Roy S. Payne on 6/15/2017. (slo, ) (Entered: 06/16/2017)

06/19/2017   Ï 36   ORDER granting 28 Unopposed MOTION to Change Venue TO THE WESTERN DISTRICT OF
                    WASHINGTON IN SEATTLE filed by HTC America, Inc. (Case transferred to the Western District
                    of Washington in Seattle, and the Docket Control Order and other deadlines are vacated in the
                    interim. ) Signed by Magistrate Judge Roy S. Payne on 6/19/2017. (slo, ) (Entered: 06/20/2017)

06/21/2017   Ï 37   Joint MOTION for Protective Order by ZTE (USA) Inc.. (Attachments:
                    # 1 Text of Proposed Order Patent Protective Order)(Miller, Scott) (Entered: 06/21/2017)

06/22/2017   Ï 38   PROTECTIVE ORDER. Signed by Magistrate Judge Roy S. Payne on 6/22/2017. (slo, ) (Entered:
                    06/22/2017)

06/27/2017   Ï 39   Joint MOTION to Continue Show Cause Hearing by Display Technologies, LLC. (Attachments:
                    # 1 Text of Proposed Order)(Wright, Thomas) (Entered: 06/27/2017)

06/27/2017   Ï 40   NOTICE by Blu Products, Inc. of Compliance with Paragraphs 1 and 3 of the Discovery Order
                    (Lew, Isaac) (Entered: 06/27/2017)

06/28/2017   Ï 41   NOTICE by Display Technologies, LLC of Compliance with Paragraphs 1 and 3 of the Discovery
                    Order (Wright, Thomas) (Entered: 06/28/2017)

06/28/2017   Ï 42   NOTICE by Display Technologies, LLC of Compliance with Paragraphs 1 and 3 of the Discovery
                    Order (Wright, Thomas) (Entered: 06/28/2017)

06/28/2017   Ï 43   NOTICE by ZTE (USA) Inc. of Compliance with Paragraphs 1 and 3 of the Discovery Order
                    (Miller, Scott) (Entered: 06/28/2017)
                    Case 2:17-cv-01057-RAJ Document 45 Filed 07/12/17 Page 8 of 8
07/06/2017   Ï 44   ORDER granting 39 Joint MOTION to Continue Show Cause Hearing filed by Display
                    Technologies, LLC. Show−cause hearing set for June 27,2017, is continued. (Show Cause Hearing
                    set for 7/12/2017 09:00 AM in Mag Ctrm (Marshall) before Magistrate Judge Roy S. Payne.)
                    Signed by Magistrate Judge Roy S. Payne on 7/6/2017. (slo, ) (Entered: 07/06/2017)

07/10/2017     Ï    Interdistrict transfer to the Western District of Washington Seattle Division. (slo, ) (Entered:
                    07/10/2017)
